                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF TENNESSEE
                             CHATTANOOGA

 TABITHA MARIE SMITH (Deceased)          §
 (aka Tabatha Marie Colbaugh),           §
 by and through her surviving children   §
 NATHAN ALEXANDER SMITH,                 §
 JE through next friend JH,              §       No. 1:24-cv-151-DCLC-CHS
 NR through next friend SR, and          §
 LC through next friend EH,              §       JURY DEMANDED
                                         §
 and                                     §
                                         §
 NATHAN ALEXANDER SMITH,                 §
 NR through next friend SR,              §
 JE through next friend JH,              §
 and                                     §
 LC through next friend EH,              §
 (individually),                         §
                                         §
                    Plaintiffs,          §
                                         §
 ~V~                                     §
                                         §
 MEIGS COUNTY, and                       §
                                         §
 ESTATE OF ROBERT J. LEONARD (Deceased), §
 by and through Neal Pinkston as         §
 Administrator ad Litem,                 §
                                         §
                    Defendants.          §

               PLAINTIFFS’ RULE 26 INITIAL DISCLOSURES

       NOW COME Plaintiffs TABITHA MARIE SMITH (Deceased) by and through her

 surviving children NATHAN ALEXANDER SMITH, JE through next friend JH, NR



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 through next friend SR, and LC through next friend EH, by and through their counsel

 and submit the following Rule 26 initial disclosures:


       A(1): Known individuals likely to have discoverable information

     Plaintiffs Nathan Smith, JE, NR, and LC. Care of Plaintiffs’ counsel. Have

       information concerning the decedent and their loss, pain, and suffering

     JH, BH, KO, and SR. Have information regarding JE, NR and LC’s loss, pain,

       and suffering.

     All treaters of JE, NR and LC who have information regarding their loss, pain

       and suffering.

     Sheriff Jackie Melton. Care of Counsel for Defendant Meigs County. Have

       knowledge concerning the training Defendant Leonard received prior to the

       incident and of the policies, procedures, and customs of Defendant Meigs

       County.

     Kenneth Colbaugh. Care of Plaintiffs’ counsel. Has information concerning

       Tabitha Smith.

     Michael Server. Care of Plaintiffs’ counsel. Has knowledge related to the

       creation of certain photographs of the accident scene in Plaintiffs’ possession.

       Has knowledge of the accident site based on visits after the incident.




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     Presently unknown deputy(ies) employed by the Meigs County Sheriff’s

       Department who were involved in training Robert J. Leonard. Care of Counsel

       for Defendant Meigs County. Have knowledge concerning the training

       Defendant Leonard received prior to the incident and of the policies,

       procedures, and customs of Defendant Meigs County.

     Treating providers for Tabitha Smith.

     Medical examiner. Has information regarding death of Tabitha Smith and

       Defendant Leonard and autopsies regarding same.

     Russell Johnson, 9th District Attorney General. 1008 Bradford Way, Kingston

       TN, 37763. Has information concerning the investigation and findings into

       the death of Tabitha Smith and Defendant Leonard.

     Sergeant John McFarland. Tennessee Highway Patrol. Has information

       concerning the investigation and findings into the death of Tabitha Smith and

       Defendant Leonard.

     Sergeant Jerry Millsaps. Tennessee Highway Patrol. Has information

       concerning the investigation and findings into the death of Tabitha Smith and

       Defendant Leonard.

     Cortney Dugger. Office of 9th District Attorney General. 1008 Bradford Way,

       Kingston TN, 37763. Has information concerning the investigation and

       findings into the death of Tabitha Smith and Defendant Leonard.

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     All other individuals involved in the preparation of the Summary Report of

       In-custody Death of Deputy Robert John Leonard, the Tennessee Highway

       Patrol Critical Incident Response Team Report, or the Tenneessee Attorney

       General Report of Forensic Findings.

     All witnesses identified in Defendants Rule 26 disclosures.

     All witnesses identified through discovery.

     All witnesses necessary for the introduction and authentication of documents.

     Expert witnesses in the following categories:

           o Computer forensics;

           o Engineering;

           o Mapping;

           o Data analysis;

           o Radio frequency and telecommunications;

           o Police procedures and conduct;

           o Accident reconstruction;

           o Forensic pathology

 Plaintiffs expressly reserve the right to supplement their initial disclosures as

 additional witnesses are identified.




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       A(2): Description of documents in Plaintiffs’ Possession

     The February 15, 2024, Tennessee Highway Patrol Critical Incident Response

       Team Report (“THP Report”).

     Office of the 9th District Attorney General, Report of Forensic Findings

       (“Forensic Report”).

     Office of the 9th District Attorney General, Summary Report of the In-custody

       Death of Tabatha Smith and Line-of-duty death of Deputy Robert John

       Leonard (“Summary Report”).

     Office of the 9th District Attorney General, Report of Investigation (Feb. 21,

       2024).

     Various news articles involving prison or jail transportation crashes.

     Various Meigs’ County Annual Financial Reports. Presently Plaintiffs have

       the years 2021–2023.

     Images of the location of the incident and approach taken by Michael Server.

     Videos of the approach to the incident location and incident taken by Michael

       Server.

     Weather data for the area of the incident taken from Weather Underground,

       the United States Geological Survey, and the National Weather Service.

     Tabitha Smith’s death certificate.



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       A(3): Computation of Damages

       Plaintiffs have not fully calculated their damages at this early stage in

 litigation. However, they include the pain and suffering of Tabitha Smith, economic

 and punitive damages associated with the violation of her rights, loss of consortium

 and related injuries experienced by Plaintiffs Nathan Smith, JE, NR, and LC.

       However, Plaintiffs would like to take this moment to inform Defendant

 Meigs County that state laws limiting liability have no effect on federal claims. See

 U.S. Const. art. VI, cl. 2.

       A(4): Indemnity or Insurance Agreements

       Upon information and belief, Defendant Meigs County maintains an

 insurance policy that may be liable to satisfy a judgment in this matter.

       Dated: April 28, 2025                    Respectfully submitted,


 By: /s/ Robin Ruben Flores                     /s/ Alyson Oliver
 ROBIN RUBEN FLORES                             OLIVER BELL GROUP
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 THOMAS & THOMAS, LLC                           SUMMERS, RUFOLO &
 RODGERS, P.C.

 By: /s/ W. Neil Thomas                         By: /s/ Jeffrey Rufolo
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                              CERTIFICATE OF SERVICE

       The undersigned attorney for the Plaintiffs hereby certifies that true and exact

 copies of this motion have been filed and served electronically upon all parties in

 interest or their counsel as indicated on the receipt issued by the Court’s electronic

 filing system.

 April 28, 2025                                       By: /s/Alyson Oliver




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